Case 1:18-cv-10472-TLL-PTM ECF No. 31 filed 05/24/18                                     PageID.476     Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

KANUSZEWSKI, et al.

                      Plaintiffs,                                           Case. No. 18-cv-10472

v.                                                                          Honorable Thomas L. Ludington
                                                                            Magistrate Judge Patricia T. Morris
MICHIGAN DEPARTMENT OF HEALTH
AND HUMAN SERVICES, et al.

                  Defendants.
__________________________________________/

               ORDER GRANTING MOTION FOR A PAGE EXTENSION

       Defendants request a 10 page increase in their page limitation for their upcoming motion

to dismiss, and have provided good cause for the request. The request will be granted and

Plaintiff will be extended the same courtesy.

       Accordingly, it is ORDERED that the motion, ECF No. 29, is GRANTED, and

Defendants may file a 35 page brief in support of their motion.

       It is further ORDERED that Plaintiffs may file a 35 page response.

                                                                s/Thomas L. Ludington
                                                                THOMAS L. LUDINGTON
                                                                United States District Judge
Dated: May 24, 2018



                                                     PROOF OF SERVICE

                            The undersigned certifies that a copy of the foregoing order was served
                            upon each attorney or party of record herein by electronic means or first
                            class U.S. mail on May 24, 2018.

                                                              s/Kelly Winslow
                                                              KELLY WINSLOW, Case Manager
